Case 1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 1 of 23




           EXHIBIT 50
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                            INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 2 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




          SUPREME COURT OF THE STATE OF NEW YORK

          ::T:::T'_Y_'-"T                                   __________.x


          THE CITY OF NEW YORK,

                                                              Plaintiff, VERIFIED COMPLAINT
                                    -against-                                Index No.:

          CORRECTION OFFICERS BENEVOLENT
          ASSOCIATION, INC. ("COBA"), BENNY BOSCIO, JR.,
          individually and as President of COBA; JOSEPH
          BRACCO, individually and as the First Vice President
          COBA; GLENN MORGAN, individually and as Second
          Vice-President of COBA; KEISHA WILLIAMS,
          individually and as Third Vice-President of COBA;
          MICHAEL MAIELLO individually and as Treasurer of
          COBA; ASHAKI ANTOINE, individually and as First
          Citywide Trustee of COBA; LIONEL CUMBERBATCH
          individually and as Financial Secretary of COBA; ANGEL
          CASTRO individually and as Recording Secretary of
          COBA; HERMAN JIMINIAN, individually and as
          Legislative Chairperson of COBA; ANTOINETTE
          ANDERSON, individually and as Corresponding Secretary
          of COBA; FELIX SANCHEZ, individually and as
          Sergeant-at-Arms of COBA,

                                                          Defendants.
                                                                        x

                         Plaintiff, by its attorney GEORGIA M. PESTANA, Corporation Counsel of the

          City of New York, for its verified complaint alleges as follows:

                                          PRELIMINARY STATEMENT

                         1.     This action is brought by the City of New York pursuant to $$ 210 and

          2II   of the New York Civil Service Law, the New York City Administrative Code, and other

          applicable law to restrain the defendants from (1) causing, instigating, encouraging or condoning

          a strike or other concerted action or slowdown, (2) aiding and abetting other violations of law




                                                      1 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                            INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 3 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




          and (3) requiring defendants to    fulfill their obligations under the Taylor Law to discourage

          members from engaging in the ongoing job action.

                                                      PARTIES

                          2.      Plaintiff the City of New York is a municipal corporation organized and

          existing under the laws of the State of New York.

                          3.      The New York City Department       of Correction ("DOC") is a mayoral

          agency empowered pursuant to Chapter 25 of the New York City Charter.

                          4.      Upon information and belief, defendant Correction Officers' Benevolent

          Association, Inc. ("COBA") is an unincorporated association and labor union operating in the

          City of New York, having its principal place of business at77-10 21't Avenue, East Elmhurst,

          N.Y.   11370.

                          5.      In accordance with procedures established by the laws of the State   and

          City of New York, defendant union is and has been certified to be the exclusive collective

          bargaining agent for its members employed by the City of New York concerning those members'

          salaries and conditions of employment.

                          6,      Upon information belief, defendant Benny Boscio, Jr. is the President of

          COBA.

                          7.   Upon information and belief, defendant Joseph Bracco is First Vice President

          of COBA.

                          8.      Upon information and belief, defendant Glenn Morgan, is Second Vice

          President of COBA.

                          9.      Upon information and belief, defendant Keisha Williams is the Third Vice

          President of COBA.



                                                                .|
                                                          -L'




                                                      2 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 4 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




                            10.      Upon information and belief, defendant Michael Maiello is the Treasurer

          of COBA.

                            1   l.   Upon information and beliei defendant Ashaki Antoine is the First

          Citywide Trustee of COBA.

                            12.      Upon information and belief, defendant Lionel Cumberbatch is the

          Financial Secretary of COBA.

                            13.      Upon information and belief, defendant Angel Castro is the Recording

          Secretary of COBA.

                            14. Upon information and belief, defendant Herman Jiminian is                   the

          Legislative Chairperson of COBA.

                            15.      Upon information and belief, defendant Antoinette Anderson is          the

          Corresponding Secretary of COBA.

                            16.      Upon information and belief, defendant Felix Sanchez is the Sergeant-at-

          Arms of COBA.

                            17.      The above named individuals are sued in both their individual and official

          capacities.

                                      AS AND FOR A FIRST CAUSE OF ACTION

                            18.      The DOC is an agency of the plaintiff City of New York performing        a


          governmental function confened upon          it by Chapter 25 of the New York City Charter.      The

          powers and responsibilities of the Commissioner of the DOC are fully set forth in Chapter 25        $


          621, et seq.,   of theNew York City Charter.

                            19.      The DOC employs correction officers who are represented in collective

          bargaining      by COBA. All of the         correction officers hold positions   by appointment of

          employment pursuant to the Civil Service Law of the State of New York, and all               of said
                                                             -3   -



                                                         3 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                     INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 5 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




          employees are public employees covered by the New York City Civil Service Law $$ 200, et

          seq., the   "Taylor Law"   as   well   as the   New York City Collective Bargaining Law ('NYCCBL").

          They are charged with performing the duties set forth in Chapter 25, 5 623 of the New York City

          Charter.

                           20.   This action is brought pursuant to $$ 201(9), 210 and             2ll   of the Civil

          Service Law, $ l2-3I2(e) of the New York City Collective Bargaining Law and other applicable

                                                                                 oosick
          law to restrain the defendants from (1) engaging in a strike,                   out," mass absenteeism or

          other stoppage or slowdown of work; (2) causing, instigating, encouraging or condoning a strike

          or other concerted action or slowdown; and (3) aiding or abetting other violations of                      law.

          Plaintiff also seeks damages for defendants' illegal conduct.

                           21.   Section 210          of the Civil      Service Law prohibits strikes         by   public

          employees and Section 201(9) of the Civil Service Law defines a strike to include a "concerted

          stoppage of work or slowdown by public             employees."
                                                                                                          .

                           22.   Both Civil Service Law $210 and Administrative Code                     $    l2-312(e)

          prohibit public employees and public employee organizations from engaging in,                        causing,

          instigating, encouraging, or condoning any strike, mass absenteeism, concerted stoppage of

          work, or slowdown.

                           23.   Specifically, $ 210(l) of the Civil Service Law provides:

                                 No public employee or employee organization shall
                                 engage in a strike, and no public employee or
                                 employee organization shall cause, instigate,
                                 encourage, or condone a strike.

          Section 20I(9) of the Civil Service Law defines 'ostrike" as "any strike or other concerted

          stoppage    of work or slowdown by public employees." Section l2-312(e) of the NYCCBL
          specifically identifies mass absenteeism as a form of unlawful job action.


                                                                 -4-

                                                              4 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                    INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 6 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




                         24.       Section 2l   I of the Civil Service Law   provides in relevant part that:

                                  where   it  appears that public employees or an
                                  employee organization threaten or are about to do, or
                                  are doing an act in violation of section two hundred
                                  and ten of this article fthe no-strike provision quoted
                                  above], . . . the chief legal officer of the government
                                  involved shall forthwith apply to the supreme court
                                  for an injunction against such violation.

                         25.       Defendants are working under a collective bargaining agreement, which

          was effective from March I,2019, through February 28,2022. Article XXV of the agreement

          specifically prohibits strikes and provides:

                                            ARTICLE XXV - NO STRIKES

                         In accord with applicable law, neither the Union nor any employee
                         shall induce or engage in any strikes, slowdowns, work stoppages,
                         or mass absenteeism, or induce any mass resignations during the
                         term of this Agreement.

                         26.      The New York City Charter $ 621 vests control of the DOC in the

          Commissioner of Correction. Section 623 of the City Charter provides that the responsibilities

          of the DOC include:

                         (l)   Charge and management of all institutions of the city, including
                               all hospital wards therein for the care and custody of felons,
                               misdemeanants, all prisoners under arrest awaiting arraignment
                               who require hospital care, including those requiring psychiatric
                               observation or treatment and violators of ordinances or local
                               laws and for the detention of witnesses who are unable to
                               furnish security for their appearance in criminal proceedings,
                               except such places for the detention of prisoners or persons
                               charged with crime as are by law placed under the charge of
                               some other agency.

                         (2) Sole power and authority concerning the care, custody and
                               control of all court pens for the detention of prisoners while in
                               the criminal courts of the city of New York, the family court of
                               the state of New York within the city of New York, the
                               supreme court in the counties of New York, Bronx, Kings,
                               Queens and Richmond and of all vehicles employed in the
                               transportation of prisoners who have been sentenced, are

                                                             -5-

                                                          5 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                               INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 7 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




                            awaiting trial or are held for any other cause.

                         (3) Charge and management of persons or any other institution of
                             the city placed under his jurisdiction by law.

                         (4) All authority, except as otherwise provided by law, concerning
                             the care and custody of felons, misdemeanants and violators of
                             local laws held in the institutions under his charge.

                         (5) All authority in relation to the custody and transportation of
                             persons held for any cause in criminal proceedings and all
                             prisoners under arrest awaiting arraignment who require
                            hospital care, including those requiring psychiatric observation
                            or treatment, in any county within the city.

                         (6) General supervision and responsibility for the planning    and
                            implementation of re-training, counseling and rehabilitative
                            programs for felons, misdemeanants and violators of local laws
                            who have been sentenced and are held in institutions under his
                             charge.

                                          THE ILLEGAL JOB ACTION

                         27.    Correction officers are engaged in a campaign of mass absenteeism that

          constitutes an illegal strike and/or work slowdown.

                         28.    The concerted nature of this conduct is evident when comparing          the

          number of correction officers who have been Absent Without Leave ("AWOL") this year with

          prior years.

                         29.    AWOL is a designation that is given when an officer fails to show up for

          their shift and does not have any sort of authorization to take leave. AWOL is a type of

          insubordination in that it represents a refusal to report as ordered, and thus being AWOL, alone,

          is grounds for disciplinary action. While any individual instance of AWOL is improper, here, it

          is clear that correction officers are committing this misconduct in a broad and coordinated

          manner (along with many officers calling out sick) in order to slowdown and/or stop the DOC

          from performing its functions, thus rendering it an illegal job action. Beginning on or about


                                                         -6-

                                                      6 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                     INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 8 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




          September 15,2021, the DOC began suspending correction officers for 30 days pending hearing

          and determination     if they go AWOL. However, action against the COBA             and its leadership for

          continuing to condone the job action requires this Court's intervention.

                           30.     There has been a dramatic rise in AWOL rates since the beginning of this

          calendar year.   ln   2019, DOC recorded average     of   645 instances of AWOL per month, and no

          more than 818 in any given month. In2020, DOC recorded an average of 773 instances of

          AWOL amongst correction officers per month, a20Yo increase over the prior year and DOC

          reached a high for the year   of 1,285 in December, 2020. In the 8 months of 202I, DOC has a

          staggering 2304 instances of AWOL each month amongst correction officers. This represents a

          staggering l98%o increase from 2020 and a 215% increase from 2019.

                           31.     There is no plausible explanation for this dramatic increase across the

          board other than a concerted effort by correction officers to engage in an unlawful job slowdown

          through mass absenteeism (the "illegal job action").

                           32.In public statements, COBA officials tend to justifu the mass absenteeism         as a


          reflection on working conditions without discouraging such conduct              -   despite the fact that

          AWOL is plainly misconduct and not justified under collective bargaining principles. In                 so


          doing, COBA officials are condoning the ongoing job action.

                           33. For example,   in an interview with PIX     I   I   News, when asked about mass

          absenteeism in connection with worsening conditions, defendant Boscio stated, "the reality is the

          people who have been AWOL for the last 8 years are the [DOC] leadership and [the elected

          officials]...they are not being asked...to act on everything we've fbeen asking them] to do." By

          connecting mass absenteeism to a supposed failure by the City to meet COBA's demands (and a

          failure of elected officials to pressure the City to do so), defendant Boscio has conceded the mass



                                                          -7   -



                                                       7 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                  INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                2    1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page 9 of 23
                                                                     RECEIVED  NYSCEF: 09/20/2021




          absenteeism is, in fact, an unlawful   job action by members of the union he leads.

                          34.    There is also no doubt that defendants, while excusing and implicitly

          condoning the   job action, are well aware they can - and should          -   do more to stop it. For

          example, on September 2, 2021, COBA delegate Donna Schnirring wrote a memorandum to

          DOC Commissioner Vincent Schiraldi in response to Commissioner Schiraldi's request for

          suggestions about how     to improve conditions at DOC. Schnining stated to             Commissioner

          Schiraldi that if he were to consider some of her suggestions,   "I   can promise to have officers . .   .



          that are out sick and Medically Monitored to retum to work,"

                          35. This statement by a duly elected COBA delegate is an admission that COBA

          is aware that officers are purposefully absenting themselves from work as leverage for policy

          change and that COBA could,        if it chose, end or at least mitigate that job action if    various

          policies are changed to their satisfaction.

                          36. Even under ordinary circumstances, this unlawful          job action by correction

          officers would severely impair the ability of the DOC to perform the duties mandated by the City

          Charter and would endangered the health and safety of individuals housed in DOC facilities,

          employees who work in DOC facilities, and other members of the general public.

                          37. But, at this critical juncture, the unlawful campaign of mass absenteeism by

          correction officers is one of the primary contributors to an emergency circumstance in which the

          health and well being of plaintiffs employees, as well as the detainees in DOC facilities, are at

          risk.

                          38.     On September 2,202I, Steven J. Martin, the federal Monitor appointed by

          the United States District Court for the Southern District of New York to monitor ongoing

          compliance with federal constitutional standards found that "Department's high rate            of Staff


                                                            -8-

                                                         8 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                    INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  10 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




          absenteeism must        be addressed immediately because the abuse of sick leave and AWOL

          contributes to overall mismanagement of the Facilities."

                             39. In order to curb the pervasiveness of what he termed a "troubling
          practice," the Monitor recommended, amongst other things, that that the City and Department

          evaluate    "all available data and information regarding the significant      increase   of tours with
          AWOL Staff or Staff on sick leave during Spring 2021 to ascertain the viability of all legal

          remedies, including whether a job action has occurred, and then taking appropriate remedial

          action."

                             40. The deterioration   of conditions for individuals   incarcerated   in   Department

          facilities as a result of the mass absenteeism of staff has been extensively covered by press and

          has been observed by experts across the criminal justice community. Much like the federal

          monitor, press accounts have noted the difficulties faced at Rikers are exacerbated by "an

          unofficial work action." One media outlet, for example, noted "Thousands of officers have

          stopped reporting for duty. Many of them are calling in sick and some are simply absent without

          official leave."

                             41. The Chief Medical Officer for Correctional Health Services, which provides

          medical care to incarcerated persons in New York City, wrote to the New York City Council

          about the deterioration of conditions and the enormous impact that staffing shortages was having

          on the jail population.

                             42. Attorneys advocating for the detainees at Rikers likewise have been observing

          that conditions in the jails are deteriorating "because correction officers simply won't do their

         jobs."      These poor conditions include medication not being delivered to detainees, emergent

          conditions simply being ignored or not addressed and meals significantly delayed or not



                                                             -9   -



                                                          9 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                     INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  11 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




          provided altogether.

                         43.On September 15, 2021, Mayor Bill DeBlasio issued a declaration of

          emergency   ooto
                             address the conditions in the New York City        jails." In issuing   that order, the

          Mayor observed that "excessive staff absenteeism among correction officers and supervising

          officers has contributed to   a rise   in unrest and disorder, and creates a serious risk to the necessary

          maintenance and delivery       of sanitary conditions; access to basic services including showers,

          meals, visitation, religious services, commissary, and recreation; and prompt processing at intake




                             4.Paragraph 2 of Mayor's emergency Executive Order addresses the unlawful

          AWOL by correction officers by providing "any DOC correction officer or supervising officer

          who is absent without leave (AWOL) shall be suspended for up to thirty days without pay

          pending hearing and determination of disciplinary charges to address the AWOL issue."

                         45. While    City is doing its part to mitigate this problematic and unlawful job

          action to help resolve this ongoing emergency, the defendants have not fulfilled their legal

          obligations to help mitigate and apparently will not without emergency judicial intervention.

                         46.      Despite agreeing that immediate action            is needed to     address these

          concerns, defendants oppose any remedial effort short of hiring many more correction officers, a

          response the federal monitor has noted does not appear to be the issue given that, in his roughly

          four decades of working in correctional institutions, the DOC has one of the "richest staffing

          ratios."

                         47.      Defendants have vowed to oppose and even block the City providing other

          resources, including security to help support the correction officers         in an apparent attempt to

          coerce the City to increase the union's ranks.



                                                              -10-


                                                           10 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                      INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  12 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                            48.   In short, the dramatic increase in    mass absenteeism by correction officers

          is clearly coordinated and an outright abdication of correction officers' basic responsibilities to

          protect the health and safety of the individuals housed in their facilities, other DOC employees,

          and the visiting public.


                            49.   Defendants are clearly aware of this campaign of mass absenteeism, and

          are either unable or unwilling to      fulfill their obligations under law and contract to mitigate it,

          putting the population of Riker's Island    -   employees and detainees alike   -   in greater danger.


                            50.   The illegal job action being encouraged and condoned by                 defendants

          violates the Civil Service Law, New York City Collective Bargaining Law, and their own

          collective bargaining agredment in an apparent attempt to leverage this emergency to coerce the

          City into meeting defendants' demands.

                            51.      The illegal job action now being conducted is only the most recent

          instance   in a   decades-long history    of illegal job actions either instigated or        condoned by

          defendant COBA, its officials and members.

                            52.      In April 1987, one hundred and eleven (111) Correction Officers at the

          Brooklyn Correctional facility engaged in an illegal job action by leaving their posts or refusing

          to report for duty. This violation of the Taylor Law was seemingly motivated by a misguided

          desire to protest disciplinary action being taken against nine other Correction Officers.

                            53.      Ultimately, the striking Correction Offrcers returned to duty but thereafter

          were subject to disciplinary proceedings and penalties which included the loss of twice the

          amount of the pay they would have received during the time they engaged in the illegal job

          actions.

                            54.      In August 13, 1990large numbers of Comection Officers entered upon and

                                                              - 11-


                                                           11 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                              INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  13 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




          completely blocked the flow of traffic across the Buono Memorial Bridge which links Rikers

          Island to the mainland. Many of the Correction Officers stopped their cars on the Bridge,

          claiming that their vehicles had broken down. As these vehicles were removed, additional

          Correction Officers drove onto the Bridge, again claiming that their cars had broken down.

                          55.     Other Correction Officers gathered nearby on the street leading to the

          Bridge, and either sat down or otherwise blocked traffic to and from Rikers Island. Within        a


          short period of time all access to or from Rikers Island was completely blocked. It must be noted

          that under New York law correction officers are authorized to carry firearms and that many

          officers carry off-duty pistols.

                          56.     Once a large number of armed correction officers have blocked the Bridge

          a potentially volatile and violent situation was created. This blockage of the bridge persisted

          throughout the day on August 13, 1990, and continued until 6 p.m. on August 14, 1990 after an

          agreement concerning COBA's demands was reached by the City and the COBA leadership.

          Upon reaching an agreement the blockage of the Bridge ended and the Comection Officers

          returned to work.

                          57.     Because access to and from Rikers Island was blocked DOC was unable to

          transport prisoners to the courts for scheduled proceedings, including bail hearings and trials and

          to medical facilities. Inmates scheduled to be transferred to state prison facilities could not be

          transferred, and scheduled parole hearings could not be conducted.

                          58. In early September, 1993, the City and COBA             were in the midst of

          negotiating a new contract when the COBA leadership threatened that ajob action would occur

          and referred specifically to the illegal job action of August 1990, in which the Bridge was

          blocked by COBA's membership, thereby preventing access to and from Rikers Island.



                                                         -t2-

                                                     12 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                 INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  14 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                         59.     Immediately after such threats were made at abargaining meeting, a flyer

         was widely circulated to COBA's membership on Rikers Island. The flyer stated that              if   there

         was no contract there would be no work and called on COBA members to assemble on the

          Bridge on September 13, 1993. This constituted an illegal threat to strike and this threat, in and

          of itself, was a violation of the Taylor Law.

                         60.     On September 10, 1993, on application of the City and the Commissioner

          of the Department of Correction, the Honorable          Jane Solomon, Justice   of the Supreme Court,

          County of New York, issued an injunction prohibiting illegal strikes including, among other

          things, the blocking of the Bridge. See City of New York v. COBA, et al.,Index No. 405403/93

          (Sup. Ct. N.Y. Co., Sept. 10, 1993).

                         6L      In addition, on Monday, September 13, 1993, a massive police           presence


          secured the Bridge    in preparation for possible illegal job actions by defendant union and its

          members. The combination of this Court's injunction and the police presence to enforce that

          injunction help to prevent any job action on the Bridge and the Bridge remained open to traffic in

          September,1993.

                          62. It    should be noted that 1993 was not the first time that COBA was

          restrained from engaging in an illegal job action. In October       of   1972 COBA's leadership was

          also restrained from violations of the Taylor Law.

                          63.    Unfortunately, neither the preliminary injunctions issued       in   1972 nor in

          1993 provided sufficient deterrent effect from continued unlawful conduct by the union, its

          leadership or its members.

                          64.     In 2013, a former COBA president arrived at a Rikers Island shift change

          meeting, and led correction officers out of the shift change and into the commissary. Officers



                                                            -   13 -



                                                          13 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                               INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  15 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




         thereafter refused to comply with orders to get in formation for uniform inspection and to

          facilitate a shift change. Officers were reportedly protesting the fact that some inmates received

          pizza from the facility's mental health staff after the inmates completed a lengthy therapy

          program.

                          65.      The former COBA president condoned the work stoppage, stating "You

          want to eat pizza, stay home...You want to have Carvel, stay home. You want to do a timeout,

          stay home. Corrections officers are not babysitters," and "You push me, I push back." See "De

          Blasio Setting Up a Test: Prison Reformer vs. Rikers Island," New York Times, April 4, 2014,



                          1tll:ssl0nef-                                 (last   accessed March    30,   2021),

          annexed to the Shaffer Aff. as Exhibit "F."

                          66.      On November 18, 2013, correction officers assigned to the DOC's

          Transportation Division, after speaking with members of COBA's Executive Board, including a

          former COBA president, suspiciously noted deficiencies in all 33 transportation buses at the

          Rikers Island Transportation Unit during mandated "pre-trip inspections" at the beginning of

          their tours. See Summons and Complaint, City of New Yorkv. Coruection Officers' Benevolent

          Association, et al.,Index       #   452134113, NYSCEF Doc.   No. 1, annexed to the Shaffer Aff.   as


          Exhibit "G," at fl 35.

                          67   .   By prior DOC practice, the rejection of these buses by their drivers caused

          the vehicles to be taken out of service until such time as they could be inspected by mechanics

          and confirmed to be safe for further use. Id.

                          68.      As a result of this unusual adherence to rules regarding operation of

          vehicles by those correction officers, all 33 available buses at the Rikers Island Transportation



                                                           -14-


                                                        14 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                     INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  16 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




          Unit which had been appropriately fitted for secure transfer of inmates to the courts and to

          medical appointments were deemed to be inoperable, despite the fact that no driver had reported

          any similar deficiency with regard to these vehicles during their previous use on the Friday

          before. Id.

                         69.     Further, after speaking to the COBA president, correction officers refused

          to attend a roll call meeting by a superior officer to address the shortage of available buses and

          its impact on producing inmates for court appearances. Id'         atl36.

                         70.     As a result of this job action, 33 out of 44 inmates who were scheduled to

          appear at their own trials, or testify at other trials, could not be produced to testify on November

          18, 2013. Id. at flfl 37, 39-40. An additional 702 inmates who had other scheduled court

          appearances could not be transported          by DOC to court on November 18,2013. Id. at 40.

          Finally, inmates missed 49 specialty appointments at Bellevue Hospital and 35 specialty

          appointments on Rikers Island due to this job action. Id.        atl4l.
                          71.    This long history of illegal concerted job actions by the COBA, its

          officials and its members, indicates     a pattern   of illegal conduct and flagrant disregard for the law,

          of which the current mass   absenteeism is but the most recent manifestation. These past actions

          provide the context for defendants' present system-wide challenge and indicate the inherently

          severe threat to public order and safety which is posed by the defendants' conduct.

                          72.    The likelihood of irreparable harm to the City of New York and its

          millions of residents, as well   as   to those who work and visit here, due to this and any other illegal

          job action by correction officers is indisputable.




                                                                -   15 -


                                                          15 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                     INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  17 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                          73,       The observations of the federal monitor and all across the criminal justice

          community, along with the Mayor's declaration of emergency establish, beyond argument, that

          immediate, irreparable injury to plaintiff is ongoing.

                          74.       Correction officers are responsible for safeguarding and securing DOC

          facilities; protecting individuals in custody, employees who work in DOC facilities, and visitors

          from the general public; enforcing the laws of the City and State of New York; and otherwise

          fulfilling the duties   set   forth in Chapter 25, Section   623   of theNew York City Charter.

                          75. It should not require legal action to ensure COBA fulfills its obligations
          under the law and under its CBA to discourage the illegal job action and mitigate the emergency

          that has arisen from      it.   The risk to health and safety of individuals housed in DOC facilities,

          employees who work in DOC facilities, and other members of the general public has already

          increased dramatically. COBA must, at the very least, do the minimum the law requires to

          mitigate this emergency.

                          76.           In view of the ineparable harm, including the danger to public safety and

          health, and the unnecessary expenditure of municipal funds for overtime resulting directly from

          this slowdown, Plaintiff respectfully urges this Court to grant the injunctive relief requested in

          this application.

                                    AS AND FOR A SECOND CAUSE OF ACTION

                          77.           Plaintiff repeats and realleges each of the allegations set forth in

          paragraphs   "l" throughoo76", as if fully set forth herein.
                           78.          Defendants have   willfully and maliciously condoned, encouraged and/or

          engaged in an illegal job action by correction officers with the intent that such action          will   cause


          the plaintiff to suffer significant injury and damages.



                                                               -16-

                                                            16 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                              INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  18 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                          79.   As a result of the illegal job actions encouraged and/or condoned by

          defendants herein, plaintiff has suffered, and   will continue to suffer immediate and irreparable

          injuries, including significantly increased overtime, and may suffer conditions which will

          endanger the public safety and welfare     in the City of New York and other damages as yet

          specifically unknown, but all of which are known to, foreseeable by, and fully intended by

          defendants.

                          80.    Plaintiff has no adequate remedy at law.

                          81.    No prior application for this or any other provisional remedy or similar

          relief has been made to this or any other Court.

                          WHEREFORE, plaintiff demands preliminary and permanent relief enjoining

          and restraining the defendant union its officers, directors, agents, members, representatives,

          servants, and   all other persons, whomsoever known or unknown acting in their behalf or in

          concert with them, or any of them in any manner or by any means from:

                                 (a)   voting to engage in, or otherwise in favor of,
                                       engaging in, or causing, instigating,
                                       encouraging or condoning, or lending support
                                       or assistance of any nature to any strike,
                                       concerted stoppage of work or slowdown,
                                       including, but not limited to, a concerted work
                                       stoppage or slowdown which takes the form of
                                       failing to issue summonses, claiming illness,
                                       failing to or refusing to report to work
                                       stations, failing or refusing to camy out lawful
                                       orders or to perform duties in a normal
                                       manner, or conducting a rule book slowdown
                                       against plaintiff, the purpose or effect of
                                       which is to delay, or otherwise hinder the
                                       proper performance of New York City
                                       Department of Conection duties;

                                 (b)   interfering in any manner directly or indirectly
                                       with plaintiff, its officers, agents,
                                                    or employees, or preventing
                                       representatives
                                       them or any of them from engaging in the
                                                           -17 -


                                                      17 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                         INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  19 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                                  performance of any duties in behalf of
                                  plaintiff, or, in any manner, interfering with or
                                  affecting the orderly continuance of the
                                  functions    of plaintiff, its officers          or
                                  employees,    or refusing to carry out lawful
                                  orders:

                            (c)   committing, attempting or directing the taking
                                  of any action which is likely to cause any
                                  employee of plaintiff to decline or discontinue
                                  to work for said plaintiff, or to slow down in
                                  the performance of duties of employment for
                                  said plaintiff, or to fail or refuse to report to or
                                  to leave his or her work assignment, or fail to
                                  perform his or her duties in a normal manner;

                            (d)   committing, attempting or directing the taking
                                  of any action to induce, persuade or intimidate
                                  any person, association, firm or corporation,
                                  or their employees, to initiate or continue any
                                  agreement to fail or refuse to make deliveries
                                  to or for plaintiff, or to fail or refuse to
                                  perform services for plaintiff, or interfere in
                                  any manner with the operations or functions of
                                  plaintiff;

                            (e) for any of the purposes or with any of the
                                  effects set forth in subparagraphs (a), (b), (c)
                                  or (d) above: picketing, patrolling,
                                  congregating, or walking back and forth
                                  within 100 feet of the entrance to any office,
                                  facility or other premises operated or
                                  administered by the New York City
                                  Department of Correction, or calling meetings
                                  and causing crowds to collect in front of said
                                  premises, or causing any offtcers, agents,
                                  members, representatives, servants or
                                  employees of the New York City Department
                                  of Correction, or any other person, to do,
                                  perform or engage in, or participate in any or
                                  all such acts, which has or have the effect of
                                  disrupting, impeding or interfering with the
                                  normal functioning and operation of the New
                                  York City Department of Correction;

                            (0    engaging in any action or attempted action,
                                  either written or oral, which has the intent,

                                                      -   18 -



                                                  18 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                                  INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  20 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                                      purpose or effect to encourage or support
                                      employees of plaintiff to engage in a
                                      concerted work stoppage which takes the form
                                      of reporting sick, or failing to or refusing to
                                      report to their work assignments, or to follow
                                      lawful commands, or to perform duties in a
                                      normal manner, and where such act or
                                      attempted act, either written or oral, has the
                                      further intent or purpose, expressed or
                                      implied, to impede the operations of plaintiff,
                                      or to accede to the unsatisfied demands of any
                                      one or more defendants or any representative
                                      of defendants;

                                (g)   agreeing, conspiring or combining to perform
                                      any of the foregoing, or any other unlawful act
                                      tending to injure, damage, destroy or interfere
                                      in any manner with the operations or functions
                                      of plaintiff or doing any act in furtherance of
                                      any such agreement, conspiracy or
                                      combination;

                        AND WHEREFORE, plaintiff further demands judgment against the defendant

          COBA and its defendant officers, each of them, jointly and severally for the sum of One Million

          Dollars ($1,000,000.00) for the first day, or portion thereof, the defendant COBA, or any officer

          of the defendant COBA, engages in, causes, instigates, encourages, or condones any strike, mass

          absenteeism, concerted stoppage    of work, or slowdown, and for double that amount for the

          following day the defendant COBA, or any officer of the defendant COBA, engages in,             causes,


          instigates, encourages, or condones any strike, mass absenteeism, concerted stoppage of work, or

          slowdown, and thereafter for double the amount of the preceding day's damages, whether it is a

          consecutive day or not, for each day the defendant COBA, or any officer              of the defendant

          COBA, continues to engage in, cause, instigate, encourage, or condone any strike,                 mass


          absenteeism, concerted stoppage    of work, or slowdown, as compensatory damages and One

          Million Dollars ($1,000,000.00) in punitive damages for each day, or portion thereof that the

          defendant COBA,     or any officer of the    defendant COBA, engages          in,   causes, instigates,

                                                        -19-

                                                     19 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                          INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  21 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




          encourages, or condones any strike, mass absenteeism, concerted stoppage of work, or




                                                      -20 -


                                                   20 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                   INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  22 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




         slowdown.

         Dated:       New York, New York
                      September 20,2021


                                              GEORGIA M. PESTANA
                                              Corporation Counsel of the
                                                 City of New York
                                              Attorney for Defendants
                                              100 Church Street, Room 2-100
                                              New York, New York 10007
                                              (2r2) 3s6-2430


                                              By
                                                       Eric Eichenholtz
                                                       Assistant Corporation Counsel




                                               -21 -


                                             21 of 22
FILED: NEW YORK COUNTY CLERK 09/20/2021 10:31 AM                                         INDEX NO. 453067/2021
NYSCEF DOC. NO. Case
                 2   1:21-cv-09012-DLC Document 41-50 Filed 10/24/22 Page  23 ofNYSCEF:
                                                                      RECEIVED   23     09/20/2021




                                                  VERIFICATION


          STATE OF NEW      YORK       )
                                      :    SS.:
          couNTY oFNEWYORK             )

                        GEORGIA M. PESTANA, being duly sworn, deposes and says that            I   am the

          Corporation Counsel of the City of New York and the Chief Legal Officer of the City of the New

          York City, that I have read the foregoing complaint and know the contents thereof to be true

          except as to the matters herein alleged upon information and belief and as to those matters I

          believe them to be true, that the source of my information and the basis for my belief are

          personal knowledge, information supplied by employees of New York City and the books and

          records of the New York City Department of Correction.




                                                                               M.     TANA



          Sworn before me thrs
          2O    day of September,z)2I



                           a.
                                                      I




          NOT              C




                                   ,,,ffilf,ffiliTll-.'



                                                          /)   /)




                                                    22 of 22
